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| David J, Brauley, Cleric of Court

 

 

United States of America )
Vv. ) .
CONRAD ALVIN BARRETT Case No. CH. H-/3 M) le4/
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)
Defendant(s)
CRIMINAL COMPLAINT

 

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of November 24, 2013 in the county of Fort Bend in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
Title18, United States Code, willfully caused bodily injury to R.C, who is African-American, because of
Section 249(a)(1) R.C.'s actual and perceived race and color.

 

This criminal complaint is based on these facts:

facts related in the affidavit attached hereto and made a part of this complaint.

@ Continued on the attached sheet.

' — on ’s signature
Alfred T. Tribble, Jr./Special Agent FBI

Printed name and title

 

Sworn to before me and signed in my presence,

Date: 42/24/2013 Gace. Tiecee,

Judge's signature

City and state: Houston, Texas Frances H. Stacy, U.S. Magistrate Judge
: Printed name and title

 

 

 
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1.

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Alfred T. Tribble, Jr., being duly sworn, depose and state as follows:

I am a Special Agent (SA), employed by the Federal Bureau of Investigation (FBI),
where I have been employed for the past 22 years. As part of my duties, I investigate
federal hate crime violations. The facts and information outlined in this affidavit result
from a joint investigation conducted by the FBI, the City of Fulshear Police Department,
the City of Katy Police Department, and the Drug Enforcement Administration. The
information in this affidavit is based upon my personal knowledge of the events set forth
herein, and information provided to me by other law enforcement personnel, cooperating
individuals and other sources of information. Due to this affidavit being submitted for
the limited purposes of obtaining a complaint and arrest warrant, I do not include every
fact known to me or other law enforcement personnel concerning this investigation, but
set forth only those facts that I believe are necessary to establish probable cause.

On November 24, 2013, Conrad Alvin Barrett (“Barrett”), a 27-year-old Caucasian man,
approached a couple at a restaurant in Fulshear, Texas. The couple, a male and female,
had never seen Barrett before. The male witness was an off-duty Arson Investigator and
peace officer for the City of Katy. Barrett asked the couple if they had heard of the
“knockout game.” Barrett told the couple that he had played the “knockout game” the
same day in Katy, Texas.

The “knockout game” is an assault in which an assailant aims to “knockout” an
unsuspecting victim with one punch. This conduct has been called other names, and
there have been similar incidents dating as far back as 1992.

After telling the couple that he had played the “knockout game,” Barrett pulled out his
cell phone and showed a video to them. The video was shot from the point of view of the
person holding the phone. The video does not show the face of the person holding the
phone, but it does show the legs and shoes of the person. The off-duty investigator
noticed that the video showed a man with shorts and brown loafers and that Barrett was
wearing the same. The off-duty investigator also noticed that the voice on the video
matched Barrett’s voice. The person holding the phone, Barrett, stops his vehicle, walks
over to someone, and says, “How’s it going, man?” The video pans upward to show the
victim, an elderly African American man. Barrett then gets closer to the victim, a loud
smack is heard, and the victim falls to the ground. Barrett laughs, says “knockout,” and
then flees in his vehicle.

After seeing the video, the couple immediately left the restaurant and saw a uniformed
police officer across the street. The couple flagged down Fulshear Police Department
Officer Michael McCoy and informed Officer McCoy of what they had seen. When
Barrett walked outside the restaurant towards his vehicle, the couple pointed Barrett out
to Officer McCoy.
 

 

 

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6. Officer McCoy approached Barrett and asked him if he had shown a video on his cell
phone to the couple. Barrett said he had, and Officer McCoy asked to see the same
video. Barrett showed Officer McCoy a video that was different than the one the couple
had described.

7. Officer McCoy then confiscated Barrett’s phone and told Barrett that he had confessed to
an assault to an off-duty peace officer. Officer McCoy informed Barrett that the phone
possessed evidence of a crime and Barrett left the area.

8. On December 2, 2013, Officer McCoy obtained a search warrant for Barrett’s cell phone
in Fort Bend County.

9. On December 6, 2013, an Agent with the Drug Enforcement Administration retrieved the
cell phone video described by the off-duty investigator as well as ten other videos
recorded on November 24, 2013. On the video described by the off-duty investigator,
Barrett states: “The plan is to see if I were to hit a black person, would this be nationally
televised?” Barrett also states that he was not going to hit “defenseless people,” just
moments before finding and striking the victim.

10. In another video, Barrett says, “This is Conrad.” In other videos, Barrett uses the word
“nigger” and states that African Americans “haven’t fully experienced the blessing of
evolution.” In another video, Barrett is driving around the Katy Mills Mall parking lot,
and he states that he is trying to work up the “courage” to play the “knockout game.”
Barrett also states that he has been trying to work up the courage for the past week.
Barrett can also be heard in a video saying he has “found the perfect African American
suspect,” but then he appears to change his mind.

11. On December 6, 2013, Fulshear’s Chief of Police Kenny Seymour identified the victim
as R.C., a 79-year-old African American man. R.C. stated that he had been assaulted by
a man on November 24, 2013, as R.C. was walking down the street.

12. On November 25, 2013, due to the pain he suffered as a result of the assault, R.C. went to
Memorial Hermann Katy Hospital for treatment. R.C. was diagnosed with two jaw
fractures and had to undergo surgery to insert two metal plates in his jaw and remove
three teeth. R.C. was hospitalized for approximately four days.
 

 

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13. Based upon the above information, I have probable cause to believe that Conrad Alvin
Barrett has violated Title 18, U.S.C. § 249(a)(1), in that on or about November 24, 2013,
he willfully caused bodily injury to the victim, who is African American, because of the
victim’s actual and perceived race and color.

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Alffed T. Tribblef Jr.
Special Agent,
Federal Bureau of Investigation

Signed and sworn to before me this A Ff: day of December, 2013, at Houston, Texas and
I find probable cause.

Frances H. Stacy
United States Magistrate Judge
